            Case 2:09-cr-00543-EFB Document 66 Filed 04/08/11 Page 1 of 2


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     Federal Defender
2    LINDA C. HARTER, CA Bar #179741
     Chief Assistant Federal Defender
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5
6
     Attorney for Defendant
7    JEFFREY ABKE
8
9
                         IN THE UNITED STATES DISTRICT COURT
10
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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13
     UNITED STATES OF AMERICA,       )      No. 2:09 - CR - 00543 EFB
14                                   )
                    Plaintiff,       )
15                                   )      TRANSPORTATION ORDER
          v.                         )
16                                   )
     JEFFREY ABKE,                   )      Date: April 19, 2011
17                                   )      Time: 9:30 A.M.
                    Defendant.       )      Judge: Hon. Edmund F. Brennan
18                                   )
     _______________________________ )
19
20   TO:   UNITED STATES MARSHAL SERVICE, SACRAMENTO, CALIFORNIA:
21         This is to authorize and direct you to furnish the above named
22   defendant, JEFFREY ABKE, with transportation from Redding, California
23   to Sacramento, California for his jury trial in the United States
24   District Court for the Eastern District of California on Tuesday, April
25   19, 2011 at 9:30 a.m. and return transportation to Redding, California.
26         In addition, the United States Marshal shall furnish Mr. Abke with
27   money for any subsistence expenses in Sacramento, including lodging,
28   not to exceed the amount authorized as a per diem allowance for travel
           Case 2:09-cr-00543-EFB Document 66 Filed 04/08/11 Page 2 of 2


1    under section 5702(a) of Title 5, United States Code.          Mr. Abke is
2    unemployed and is financially unable to travel to Sacramento,
3    California without transportation and subsistence expenses.           Mr. Abke
4    lives with co-defendant, Ms. Navarette, and her two children.          He uses
5    food stamps to pay for food.     Mr. Abke will need transportation for his
6    return to Redding, California, the location of his residence, after the
7    jury trial.
8         This is authorized pursuant to 18 U.S.C. § 4285.
9    IT IS SO ORDERED.
10   Dated: April 8, 2011
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13                                     /s/ Edmund F. Brennan
                                       EDMUND F. BRENNAN
14                                     U.S. Magistrate Judge
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     Proposed Trans. Order                 -2-
